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                                                         U.S. Department of Justice


                                                         United States Attorney
                                                         Eastern District of New York
  DEL/MWG/ADR                                            271 Cadman Plaza East
  F. #2020R00637                                         Brooklyn, New York 11201


                                                         February 22, 2024

  By ECF

  The Honorable Hector Gonzalez
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:     United States v. Vincent Ricciardo
                         Criminal Docket No. 21-466 (S-1) (HG)

  Dear Judge Gonzalez:

                  The government respectfully submits this letter in advance of sentencing of
  defendant Vincent Ricciardo, currently scheduled for February 28, 2024. On July 14, 2023,
  Vincent Ricciardo pleaded guilty to racketeering, in violation of Title 18, United States Code,
  Section 1962(c), in connection with an extortion and money laundering conspiracy he orchestrated
  as a captain of the Colombo organized crime family of La Cosa Nostra, as well as other crimes.

                 In light of the factors set forth in 18 U.S.C. § 3553(a), the government requests that
  the Court impose a sentence at the high end of the United States Sentencing Guidelines (the
  “Guidelines”) range set forth in the parties’ plea agreement of 63 to 78 months’ imprisonment,
  followed by a term of 3 years’ supervised release and $280,890 in restitution to John Doe #1.

  I.     Background

                 For nearly twenty years, Vincent Ricciardo used his membership in the Colombo
  crime family to threaten a senior labor union official (“John Doe #1”) into paying $2,600 month
  from his Union salary. After years of timely payments, Vincent Ricciardo was so certain that John
  Doe #1 would continue to comply that Vincent Ricciardo and other members of the crime family
  demanded additional monthly kickbacks. When John Doe #1 even appeared uncooperative,
  Vincent Ricciardo’s message to him was clear: Refuse and you will be killed. For instance, in a
  conversation recorded on June 21, 2021, Vincent Ricciardo said:

                 [John Doe #1’s] got no choice but to play ball, listen to me . . . listen
                 to me, [John Doe #1] knows me 40 years, since he’s a baby . . . [John
                 Doe #1] knows I’ll put him in the ground right in front of his wife
                 and kids, right in front of his fucking house, you laugh all you want
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                 pal, I’m not afraid to go to jail, let me tell you something, to prove
                 a point? I would fucking shoot him right in front of his wife and
                 kids, call the police, fuck it, let me go, how long you think I’m gonna
                 last anyway?

  When asked why he would resort to killing John Doe #1, Vincent Ricciardo replied, “Well, then
  they’ll know my fucking name every time, every time they hear my name, they’ll know it.”

                  In addition to leading efforts to extort and launder money through the Labor Union,
  Vincent Ricciardo, a four-time convicted felon, also directed other moneymaking ventures for the
  Colombo crime family: he collected from his crew of associates and members for incarcerated
  members, he oversaw extortionate loans, he steered others to training schools offering fraudulent
  Occupational Safety and Health Administration safety certificates, and he plotted to traffic
  marijuana from Florida to New York. Indeed, his documented association with the Colombo crime
  family dates back nearly fifty years to 1978, and includes two federal convictions — for extortion
  conspiracy in 1995, see Presentence Investigation Report dated November 29, 2023 (“PSR”) ¶
  250, and racketeering in 2005, id. ¶ 251. Despite battling medical issues for decades (and using
  these issues to avoid incarceration), Vincent Ricciardo has continued to tirelessly support the aims
  of the Colombo crime family.

         A.      Offense Conduct

                 Vincent Ricciardo, 78, is a longtime inducted member of the Colombo crime
  family, a criminal enterprise that engages in violent crime, extortion, loansharking, drug trafficking
  and fraud, among other things. PSR ¶¶ 17-21. The instant case charged multiple criminal schemes
  perpetrated by members of the Colombo crime family, and Vincent Ricciardo was a key player in
  nearly every scheme, as described below.

                 1.      Extortion/Money Laundering Scheme (Racketeering Acts 1 & 6)

                 This case arose from an investigation initiated in July 2020 by the Federal Bureau
  of Investigation (“FBI”) and other law enforcement agencies into the extortion of a senior official
  (“John Doe #1”) of a Queens, New York labor union (the “Labor Union”) by members of the
  Colombo crime family. Id. ¶ 8. As described below and in the PSR, the extortion involved threats
  of violence toward multiple victims connected to the Labor Union and an associated health fund
  (the “Health Fund”). Id. ¶ 29.

                         a.      Extortion of John Doe #1 in 2001

                 Vincent Ricciardo began extorting John Doe #1 for payments in 2001, collecting
  $2,600 monthly from John Doe #1’s salary, which Ricciardo often referred to as a “pension” for
  himself from the Labor Union. PSR ¶¶ 35-36. Vincent Ricciardo confronted John Doe #1 in the
  Union offices and demanded $2,600 in cash, and John Doe #1 paid him. The following month,
  Vincent Ricciardo made the same demand and again John Doe #1 complied. The third month,
  John Doe #1 attempted to avoid Vincent Ricciardo, but Ricciardo again confronted John Doe #1
  and threatened to physically harm him unless John Doe #1 paid him. Knowing of Ricciardo’s
  association with the Colombo crime family and his history of violence, John Doe #1 paid that third


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  month — and every month thereafter for nearly 20 years — afraid for his own safety and his
  family’s safety. Ashamed of his submission to Vincent Ricciardo’s demands for Union money,
  John Doe #1 worked odd jobs to supplement his income and hid the payments from his family.

                  Several years after the extortion first began, Vincent Ricciardo was convicted for
  racketeering (this time, for extorting numerous members of other local labor unions for no-show
  jobs, see PSR ¶ 251) and went to prison. Still, the extortion of John Doe #1 and the Labor Union
  continued. While Vincent Ricciardo was incarcerated, his cousin and co-defendant Domenick
  Ricciardo collected the payments, often also threatening John Doe #1 with violence. It continued
  that way until 2020. Id. ¶ 36. In that time, John Doe #1 paid more than $600,000 to the members
  of the Colombo crime family in connection with the extortion. PSR ¶ 47. Bank records obtained
  from financial institutions since 2010 corroborate these payments. Id.

                         b.     Vincent Ricciardo’s Expansion of Extortion Scheme in 2019

                  Using the knowledge and experience Vincent Ricciardo gleaned from working for
  and extorting labor unions for four decades, Vincent Ricciardo concocted a plan to expand the
  scope of the extortion to include additional kickback payments from the Labor Union for the
  benefit of the Colombo crime family. Id. ¶ 48.

                 In January 2020, Vincent Ricciardo and co-defendant Michael Uvino appeared at
  night, uninvited, at John Doe #1’s home. Id. ¶ 37. With members of John Doe #1’s family nearby,
  Uvino and Ricciardo threatened John Doe #1 and demanded he continue to comply with their
  scheme to extort the Labor Union. Id. Uvino and Ricciardo also questioned John Doe #1 about
  his salary and benefits as well as the salary and benefits of other employees of the Labor Union
  and Health Fund. Id. The information they obtained informed the Colombo family’s attempts to
  expand the extortion and to launder the proceeds of the extortion.

                In the ensuing months, including during the COVID-19 pandemic, when John Doe
  #1 was not receiving a salary, the threats and demands continued. For example, in late August
  2020, Vincent Ricciardo called John Doe #1 and left two voicemails threatening to come to John
  Doe #1’s home. Id. ¶ 42. In the second voicemail, Vincent Ricciardo said:

                 I called you four hours ago. I was hoping you’d call me back. But
                 anyway, okay, you don’t want to return my call, I can understand. I
                 don’t know why, but anyway, I’ll come and see you. I’ll try to get
                 there tonight or tomorrow but I’ll come and see you.

  Id. Shortly thereafter, on another phone call, Vincent Ricciardo and Uvino discussed these
  voicemails. Id. ¶ 43. Vincent Ricciardo explained that he had called John Doe #1, who had not
  responded, and “told him I’ll see him tonight or tomorrow.” After a brief discussion, Uvino
  responded, “Let these guys, let ’em squirm now tonight . . . .” Ricciardo and Uvino then laughed
  about John Doe #1 waiting for them in fear.

                  The following day, on September 1, 2020, Vincent Ricciardo and Uvino personally
  drove to the Labor Union’s office in Queens, New York and repeatedly knocked on a locked door
  demanding to be let in. Id. ¶ 50. Frightened employees called 911. Id. The caller told the
  dispatcher, “I can’t see them but they are like screaming and banging on the door. . . . I am afraid

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  to look because they [will] see us.” After officers from the New York City Police Department
  (“NYPD”) responded to the emergency call, Vincent Ricciardo and Uvino told the officers they
  were attempting to collect a check and left. Id. Several hours later, Uvino spoke to Vincent
  Ricciardo and joked that John Doe #1 and the Labor Union employees “don’t feel an air of
  invincibility anymore.”

                When John Doe #1, who at this time was cooperating with the FBI, sought to avoid
  Vincent Ricciardo’s increasing demands, Vincent Ricciardo explained, in an intercepted phone
  call on October 9, 2020, what would happen to John Doe #1 and his family should John Doe #1
  not comply:

                 Listen to me, listen to me carefully, you listen to me carefully, if I
                 don’t hear from you Tuesday, I’ll see you and I’ll see your wife. I’m
                 a little fucking pissed off right now [first name of John Doe #1], I
                 really am, okay? And I got the right to be pissed off too. Okay? I
                 treat you nothing like a brother and you treat me like a stepbrother,
                 okay?

  Id. ¶ 44.

                 In October 2020, Vincent Ricciardo continued to report the progress of the scheme
  to the administration of the Colombo crime family, including directly to then-boss Andrew Russo
  and the family’s consigliere Ralph DiMatteo. Id. ¶ 51-54. Ricciardo and Uvino even discussed
  garnering the support of Theodore Persico, Jr., the incoming boss of the Colombo crime family.

                   On October 29, 2020 and November 5, 2020, Vincent Ricciardo forced John Doe
  #1 to meet in person to discuss the Labor Union and plans to expand the scope of the Colombo
  crime family’s involvement in the Union and Health Fund. Id. ¶¶ 55-56. At the direction of law
  enforcement, John Doe #1 recorded both meetings. On October 29, Vincent Ricciardo demanded
  more regular “pension” payments. Shortly thereafter, at the November 5 meeting, Vincent
  Ricciardo met with John Doe #1 and again pressured John Doe #1 to continue his “pension”
  payments. Vincent Ricciardo also detailed the Colombo crime family’s plans to expand the scope
  of their extortion and control of the Labor Union and Health Fund. Vincent Ricciardo ordered
  John Doe #1 to hire and employ Co-Conspirator #1 as the assistant administrator to the Health
  Fund, explaining that Co-conspirator #1 would control the selection of the Health Fund’s vendors,
  forcing the Health Fund to contract with entities and individuals associated with the Colombo
  crime family. Id. ¶¶ 56-57. Vincent Ricciardo told John Doe #1, “[I]t’s my union and that’s it,
  but I call the shots, nobody listens to me they’re out of there.” Id. During both meetings, Vincent
  Ricciardo directed Co-Conspirator #1, Domenick Ricciardo, and others to conduct counter-
  surveillance of the meeting to ensure that John Doe #1 had not alerted law enforcement. Id. ¶ 46.

                  Vincent Ricciardo later recounted these meetings to Co-Conspirator #1,
  emphasizing (and mocking) John Doe #1’s fear in meeting him and his insistence that they meet
  in a restaurant. In a May 5, 2021 consensual recording, Vincent Ricciardo explained: “So anyway,
  [John Doe #1] comes and he meets me. He is deadly afraid. He wants to meet me in restaurant.
  He is afraid but I told him. The restaurant ain’t going to help. If I am going to kill you, you would
  have been dead already.” Id. ¶ 91.


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                         c.     Vincent Ricciardo Seeks to Siphon Funds from the Union

                  Over the course of the next several months, Vincent Ricciardo forced the hiring and
  employment of Co-Conspirator #1 as the assistant administrator to the Health Fund. Ricciardo
  and the members of the Colombo crime family then used their control over (and Co-Conspirator
  #1’s access to) the Labor Union to put their scheme in motion to replace the Health Fund’s vendors
  and Union’s legal counsel with entities beholden to the Colombo crime family and its associates.
  PSR ¶ 60. Those entities would negotiate for payments from the Health Fund and then from those
  payments, would pay at least $10,000 in fees, or “kickbacks,” to the crime family. Id.

                  To put the selected vendors in place, Vincent Ricciardo recruited co-defendant
  Albert Alimena as the third-party administrator for the Health Fund and co-defendant Joseph
  Bellantoni to locate other vendors who would provide kickbacks to the Colombo crime family. Id.
  ¶ 62. Vincent Ricciardo then provided internal, confidential documents belonging to the Labor
  Union and the Health Fund so that Alimena could “advise” co-conspirators on restructuring
  specific vendor contracts to facilitate payments to the Colombo crime family. Id. ¶¶ 63-64, 66-68,
  74.

                  Either from New York or North Carolina, Vincent Ricciardo worked diligently to
  force the Union and the Health Fund to contract with the selected vendors in order to divert funds
  to the crime family. Id. ¶ 61. On or about December 19, 2020, Vincent Ricciardo drove from New
  York to North Carolina 1, where he utilized a prepaid “burner” phone so he could continue to
  communicate with Co-Conspirator #1 and his co-defendants and direct the scheme from North
  Carolina. He made clear in intercepted phone calls that he would return to New York if necessary.
  For example, on January 28, 2021, in a conversation with co-defendant Ralph DiMatteo, the
  consigliere of the Colombo crime family, Ricciardo reported “things are going slow,” he offered
  to travel back to New York to provide a report to the Colombo crime family’s administration, if
  necessary. Id. ¶ 64. Vincent Ricciardo returned to New York on or about March 9, 2021.

                  In early April 2021, he and Co-Conspirator #1 traveled by plane to Florida to meet
  with Alimena in person to discuss the scheme. Id. ¶ 77. They met in a private backroom of a
  closed restaurant and Alimena collected and stored their cell phones behind the bar for the duration
  of the meeting. Id. They reviewed paperwork from the Fund and Alimena explained how to
  receive kickbacks from the Fund’s vendors, including by choosing a third-party administrator and
  healthcare vendors aligned with the Colombo crime family. Id. They continued to discuss the
  scheme to divert money from the Union members, with Alimena making various notes and
  coaching Co-Conspirator #1 on what documents to request. Id. As shown by consensual
  recordings later that month, Vincent Ricciardo confirmed that Alimena had agreed to provide
  $10,000 per month to the Colombo crime family if his company (the Dickinson Group) was
  selected as the third-party administration for the Health Fund. Id. ¶ 87.



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                 From August 4, 2020 through December 19, 2020, and from March 9, 2021 through
  July 1, 2021, Vincent Ricciardo resided in New York.


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                  In the spring and summer of 2021, due to law enforcement’s intervention, the
  Health Fund did not enter into contracts with the vendors selected by the Colombo crime family.
  Vincent Ricciardo blamed the delay on John Doe #1. For instance, on May 20, 2021, Vincent
  Ricciardo stated in reference to John Doe #1, “I’ll send someone to his fucking house, I don’t give
  a fuck. I’m telling you they are doing something and they are buying time, time and time. Fucking
  tired of repeating myself I really am.” Ricciardo added, again in reference to John Doe #1, “[w]e
  will go to his house and break his fucking head.” Id. ¶ 91.

                  Weeks later, on June 18, 2021, in reference to John Doe #1, Vincent Ricciardo
  again indicated he would resort to violence if his demands were not met, stating, “you’re gonna
  have to be a little more demanding with this kid, if this kid gets out of hand you gotta tell us then
  we’re gonna have to go smack this kid in his head, I don’t give a fuck.”

                 On July 1, 2021, Vincent Ricciardo again traveled to North Carolina, where he
  continued to coordinate the extortion and money laundering scheme with a burner phone, until his
  arrest in September 2021.

                 2.      Fraud Workplace Safety Certifications (Racketeering Act 3)

                 During the investigation of the Colombo organized crime family’s extortion of a
  senior official of a labor official, law enforcement agents uncovered evidence of Vincent
  Ricciardo’s involvement in a scheme to produce fraudulent workplace safety certifications from
  Occupational Safety and Health Administration (“OSHA”). Id. ¶¶ 102-125. Vincent Ricciardo
  and those around him often met at the two safety training schools run by co-defendant and Bonanno
  crime family soldier John Ragano. Among other things, it became rapidly apparent that the schools
  (which never held training classes) were merely a place for members and associates of La Cosa
  Nostra to convene, store contraband, and carry out the criminal schemes that are the lifeblood of
  organized crime.

                 Rather than hold training classes, the applicants (or their employers) would email,
  text, or drop-off photocopies of driver’s licenses, which co-defendants Ragano, Domenick
  Ricciardo and corrupt OSHA trainers would then use to complete the necessary OSHA paperwork.
  After approximately a month, the certification cards would arrive and be distributed to the
  complicit “students.” On some occasions, business owners and construction companies arranged
  for large groups to be certified without training in order to receive a better price per certification.

                 In addition to holding meeting at the safety training schools, Vincent Ricciardo also
  contemplated that when the Colombo family fully controlled the Labor Union’s management, the
  staff of Union and the Health Fund would be required to obtain OSHA certification cards, in part
  to divert additional money from the union to the Colombo family through the school. In an
  intercepted communication, Vincent Ricciardo discussed having all the members of Labor Union
  OSHA-certified. And, in another intercepted communication, Vincent Ricciardo directed an
  individual to contact Co-Conspirator #1 to obtain a bogus OSHA cards, noting, “Yeah, this way
  ya don’t have to sit there for no freakin’ thirty hours.” Id. ¶ 125.




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                 3.      Loansharking Schemes (Racketeering Act 4)

                 Vincent Ricciardo also engaged in an extortionate collection of credit scheme with
  Uvino, Ragano and co-defendant Thomas Costa. Id. ¶¶ 126-35. With Vincent Ricciardo’s
  assistance, Uvino and Ragano provided an individual (“John Doe #2”) with two extortionate loans
  totaling $250,000. Wiretap interceptions, banking records, consensual recordings and other
  evidence showed that Uvino provided a $100,000 to John Doe #2; and in exchange John Doe #2
  was required to make payments on a weekly basis to Uvino and Ricciardo, which equated to
  approximately 1.5 percent weekly interest (or “vig”) on the $100,000 loan. Id. ¶ 129. Wiretap
  intercepts and consensual recordings further showed that in early 2021, John Ragano made a
  $150,000 loan to John Doe #2 on the same terms, i.e., 1.5 percent weekly interest on the $150,000
  loan, and was required to make payments on a weekly basis to Ragano and Ricciardo.

                  Vincent Ricciardo collected $500 a week in the loansharking scheme ($200 from
  the Uvino loan and $300 from the Ragano loan). More than 40 payments to Vincent Ricciardo are
  captured in wiretap intercepts and consensual recordings. These weekly payments did not reduce
  the principal – a concept Vincent Ricciardo explained to Co-Conspirator #1 in a recorded call on
  January 26, 2021. Ricciardo explained, “But you don’t know how it works. . . . The way it works
  is there’s no such thing as, haha, the principal.” Co-Conspirator #1 reiterated, “You pay the juice
  or you pay the whole thing back, I know that.” Id. ¶ 132.

                 Vincent Ricciardo and his co-defendants relied on their violent reputations and that
  of the Colombo crime family to intimidate John Doe #2 into complying with the usurious terms of
  the loan. For example, in or about July 2021, Co-Conspirator #1 reported that John Doe #2 was
  behind on payments. During this time, Co-Conspirator #1 recorded a conversation in which co-
  defendant Thomas explained Ricciardo told Costa to give John Doe #2 a “beating” unless he
  caught up on his payments. Id. ¶ 134.

         B.      Ricciardo’s Criminal History and Association with the Colombo Crime Family

                   Vincent Ricciardo’s criminal history begins at age 24 in 1970 when he was
  convicted of grand larceny in the second degree in Suffolk County (N.Y.) Court in connection with
  the theft of a tractor trailer and meat. Id. ¶¶ 246-47. He was sentenced to one year in custody. In
  January 1972, Vincent Ricciardo was convicted in Suffolk County Supreme Court in connection
  with the forcibly robbery of a drug store and the brandishing of a loaded .32 caliber semi-automatic
  pistol and a loaded .32 caliber Colt revolver. Id. ¶ 248. Ricciardo and two co-conspirators stole
  $1,100 in the robbery. Id. He was sentenced to four years’ custody. Vincent Ricciardo was next
  charged and convicted in an extortion conspiracy, involving 28 defendants in four mafia families
  charged with skimming tens of millions of dollars through a 12-year conspiracy to control
  awarding of window contracts at the New York City Housing Authority between 1978 and 1990.
  Id. ¶ 250; see also United States v. Gigante, et al., 90-CR-446 (RJD). Vincent Ricciardo was then
  president of a local labor union and used his position to pass along orders from the Colombo crime
  family to window manufacturers concerning which window installers the crime family expected




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  to use. Ricciardo pleaded guilty in 1995 and received a sentence of five years’ probation. 2 The
  Honorable Raymond J. Dearie also ordered that Vincent Riccardo be subject to the following
  special conditions: at least 20 hours of community service per week, home incarceration, no
  contact (either informal and formal) to any labor organization or members of organized crime.

                 Just months after his probationary sentence ended, in 2001 and 2002, Vincent
  Riccardo, who was then a soldier in the Colombo crime family, extorted numerous local unions to
  secure no-show jobs for associates of the Colombo crime family, for an estimated loss of nearly
  $300,000, and supervised an illegal gambling business. 3 Id. ¶ 251; see also United States v.
  Cacace, 03-CR-191 (S-5) (SJ). Vincent Ricciardo was convicted of racketeering and sentenced to
  42 months’ imprisonment and 3 years’ supervised release. On account of his 2005 conviction,
  Vincent Ricciardo was barred under the Labor Management Reporting and Disclosure Act
  (“LMDRA”) and Employee Retirement Incomes Security Act (“ERISA”) from holding any role,
  representing or consulting with any labor organization or benefit fund for a period of 13 years from
  November 5, 2008 (the date of his release from his term of imprisonment) through November 5,
  2021.

         C.      Ricciardo’s Medical Condition

                 Vincent Ricciardo dedicates much of his sentencing memorandum to his ongoing
  health issues and pretrial confinement on the medical unit at Hudson County Correctional and
  Rehabilitation Facility, where he claims to have suffered a decline in health. 4 See ECF Dkt. No.
  624 (“Def. Mem.”) (Feb. 16, 2024). However, Vincent Ricciardo suffered from serious health
  issues long before his arrest in this case and, according to his medical providers and records, many
  of his claims do not accurately portray his current condition. Despite Vincent Ricciardo’s history
  of cardiac problems, a representative from the Bureau of Prisons confirmed that Bureau of Prisons
  can provide appropriate care to the defendant should he be sentenced to a term of imprisonment.




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                 Vincent Ricciardo was originally among the defendants on trial, suffered a heart
  attack during the trial and later pled guilty to extortion conspiracy. PSR ¶ 286; see also United
  States v. Gigante, et al., 90-CR-446 (RJD), ECF Dkt. No. 675.
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                Notably, while extorting labor unions for no-show jobs, Vincent Ricciardo also
  begun to extort John Doe #1 in the instant case, and continued to do so, during his conviction,
  sentence of imprisonment and term of supervised release, and in the years following.
         4
                  The government respectfully requests that a redacted version of this letter be filed
  publicly, sealing only the portions of this response that may reveal health information protected
  by the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”) that has not
  otherwise been disclosed in the defendant’s public filings. See Offor v. Mercy Med. Ctr., 167 F.
  Supp. 3d 414, 445 (E.D.N.Y. 2016) (“Courts in this Circuit have repeatedly held that information
  protected by HIPAA is not subject to a First Amendment or common- law right of access and thus
  have sealed docket entries and redacted documents that contain such information.”), vacated in
  part on other grounds, 676 F. App’x 51 (2d Cir. 2017).


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                       1. Current Condition




                  Despite these health, mobility and weight issues, Vincent Ricciardo used threats of
  violence, his reputation and his ties to organized crime to coordinate and participate in an extortion
  and money laundering scheme, a loansharking conspiracy, a fraudulent workplace safety scheme,
  and a plan to traffic marijuana. He made countless phone calls, traveled significantly and daily by
  car, and was frequently surveilled driving and meeting with numerous members and associates of
  La Cosa Nostra and the victims in this case. He also traveled more than four hours by car to upstate
  New York multiple times during the investigation to meet with co-defendants and other known
  members of organized crime. Vincent Ricciardo drove himself from New York City to Charlotte,
  North Carolina in March and July 2021, and traveled by plane to meet a co-conspirator in Florida
  in April 2021. He also drove his family more than eight hours from North Carolina to Florida (and
  back) to visit relatives in August 2021.




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                  In 1992, Vincent Ricciardo was shot in the lower back by Vito Guzzo, Jr. In
  consensual recording on April 11, 2021, Vincent Ricciardo explained to Co-Conspirator #1 that
  Guzzo, Jr. “[t]ook a 33-year cop out to get off the street ’cause you know I would’ve killed him.
  ’Cause he thinks I killed his father.”


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   ill inmates, or a general population facility, where Vincent Ricciardo would likely be enrolled in
   the general, cardiac and orthopedic/rheumatology clinics based on his medical conditions and seen
   as often as medically necessary. Id. at 2-3. Dr. Mace-Liebson confirmed that Vincent Ricciardo’s
   current medications, or their equivalent, are on the BOP’s National Formulary, and should he
   require a different medication going forward, nonformulary requests can usually be accomplished
   within 36 hours of a clinician’s request. Id. at 3. Accordingly, she wrote, “based on the
   information provided to me and my knowledge of the BOP’s medical resources, the BOP is able
   to provide appropriate care for Mr. Ricciardo should he be sentenced to a term of incarceration
   and committed to the custody of the BOP.” Id.

   II.    Procedural History

                  A grand jury in this District returned an indictment against Vincent Ricciardo and
   others on September 8, 2021, charging, among other crimes, racketeering, in violation of 18
   U.S.C. § 1962(c). On September 14, 2021, Vincent Ricciardo was arrested in North Carolina.
   He was arraigned before a magistrate judge in the Western District of North Carolina, where he
   consented to be removed to the Eastern District of New York in custody. Since his removal to
   New York, Vincent Ricciardo has been incarcerated in the medical wing of Hudson County
   Correctional and Rehabilitation Center. Since his arrest, he has made multiple applications for
   bail based on his ongoing medical issues, each of which was denied. The defendant thus has
   been detained since his arrest.

                   On April 13, 2022, a grand jury returned a 21-count superseding indictment,
   which is the operative charging document and contained the same essential counts against
   Vincent Ricciardo. Ricciardo is charged in all but three counts of the Superseding Indictment.
   In the Superseding Indictment, Ricciardo is charged with the following crimes: racketeering, in
   violation of 18 U.S.C. § 1962(c) (Count One); Hobbs Act extortion conspiracy, in violation of 18
   U.S.C. § 1951(a) (Count Two); Hobbs Act extortion, in violation of 18 U.S.C. § 1951(a) (Count
   Three); Hobbs Act extortion conspiracy, in violation of 18 U.S.C. § 1951(a) (Count Four);
   attempted Hobbs Act extortion, in violation of 18 U.S.C. § 1951(a) (Count Five); conspiracy to
   commit fraud in connection with means of identification, in violation of 18 U.S.C. § 1028(f)
   (Count Six); fraud in connection with means of identification, in violation of 18 U.S.C. §
   1028(a)(7) (Count Seven); conspiracy to make false statements, in violation of 18 U.S.C. §§ 371
   and 1001(a)(2) (Count Eight); extortionate collection of credit conspiracy and extortionate
   collection of credit, in violation of 18 U.S.C. § 894(a)(1) (Counts Ten and Eleven); conspiracy to
   distribute and possess with intent to distribute marijuana, in violation of 21 U.S.C. §§ 846 and
   841(b)(1)(C) (Count Twelve); money laundering conspiracy, in violation of 18 U.S.C. § 1956(h)
   (Count Thirteen); conspiracy to steal and embezzle health care benefit funds, in violation of 18
   U.S.C. §§ 371 and 669(a) (Count Fourteen); attempted health care fraud and health care fraud
   conspiracy, in violation of 18 U.S.C. §§ 1347 and 1349 (Counts Fifteen and Sixteen); violation
   of disqualification, in violation of 29 U.S.C. §§ 1111(a) and 1111(b) (Count Nineteen); and
   transportation and possession of ammunition by a felon, in violation of 18 U.S.C. §§ 922(g)(1)
   and 924(a)(2) (Count Twenty). Vincent Ricciardo is not charged in Counts 17, 18 and 21 of the
   Superseding Indictment.

                  On July 14, 2023, Vincent Ricciardo pleaded guilty, pursuant to a plea agreement
   with the government, to Count One of the Superseding Indictment. As part of the plea agreement,


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   Vincent Ricciardo admitted to the conduct alleged in Racketeering Acts One (extortion
   conspiracy), Three (conspiracy to commit fraud in connection with identification documents), Four
   (extortionate collection of credit conspiracy) and Six (money laundering conspiracy) of the
   Superseding Indictment. Vincent Ricciardo stipulated to the government’s estimated Guidelines
   calculation of 63 to 78 months (CHC III x Offense Level 24). He also agreed not to appeal the
   sentence or conviction should the Court impose a term of 97 months’ imprisonment or below.

   III.   Guidelines Calculation

                 The government submits that the following calculation of the Guidelines is
   correct:

   Count One: Racketeering

          Racketeering Act 1: Extortion Conspiracy
                 Base Offense Level (U.S.S.G. §§ 2E1.1(a)(2), 2B3.2(a))                          18
                 Plus: Offense Involved Threat of Bodily Injury (U.S.S.G. § 2B3.2(b)(1))         +2
                 Plus: Loss Greater Than $95,000 (U.S.S.G. §§ 2B3.2(b)(2), 2B3.1(b)(7)(C))       +2
                 Plus: Manager or Supervisor (U.S.S.G. § 3B1.1(b))                               +3
                 Total:                                                                          25
          Racketeering Act 3: Fraud in Connection with Identification
                 Base Offense Level (§2B1.1(a)(2))                                                6
                 Plus: Offense Involved More than $250,000 (§2B1.1(b)(1)(G))                    +12
                 Plus: Manager or Supervisor (U.S.S.G. § 3B1.1(b))                               +3
                 Total:                                                                          21
          Racketeering Act 4: Extortionate Collection of Credit Conspiracy
                 Base Offense Level (§2E2.1(a))                                                  20
                 Plus: Manager or Supervisor (U.S.S.G. § 3B1.1(b))                               +3
                 Total:                                                                          23
          Racketeering Act 6: Money Laundering Conspiracy
                 Base Offense Level (U.S.S.G. §§ 2S1.1(a)(1), 2B1.1(a)(2))                        6
                 Plus: Intended Loss More Than $150,000 (U.S.S.G. § 2B1.1(b)(1)(F))             +10
                 Plus: Manager or Supervisor (U.S.S.G. § 3B1.1(b))                               +3
                 Total:                                                                          19




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   Multiple Racketeering Act Analysis
                  Highest Adjusted Offense Level                                                  25
                           Units:
                                 Racketeering Act 1 (§ 3D1.4(a))                                   1
                                 Racketeering Act 3 (§ 3D1.4(a))                                   1
                                 Racketeering Act 4 (§ 3D1.4(a))                                   1
                                 Racketeering Act 6 (§ 3D1.4(a))                                   ½
                                 Total Units                                                     3½
                  Levels Added (U.S.S.G. § 3D1.4):                                                +4
                  Less: Acceptance of Responsibility (U.S.S.G. §§ 3E1.1(a), (b))                  -3
                  Total:                                                                          26
   In addition, the parties agree that an additional two-level departure is warranted for the case’s
   global resolution by July 15, 2023. PSR ¶ 272; U.S.S.G. § 5K2.0.

                 The calculation in the PSR differs in two respects. The PSR estimates Vincent
   Ricciardo qualifies for a four-point leadership enhancement under U.S.S.G. § 3B1.1(a). In the
   plea agreement, the government estimated Ricciardo’s conduct constituted a three-point leadership
   enhancement. The government seeks a sentence commensurate with the three-point enhancement.

                  The PSR also calculates Ricciardo’s criminal history as Category II.           The
   government submits that the defendant in fact has a criminal history score of four, placing him in
   Criminal History Category III. This calculation includes not only the November 2003 sentence
   but also the defendant’s June 1995 sentence, for which he received a sentence of five years’
   probation. Id. ¶ 250. Because the government can demonstrate that Vincent Ricciardo’s
   commencement of the instant offense of conviction began in 2001, his 1995 felony conviction was
   imposed within the 10-year timeframe prescribed by the Guidelines and properly receives one
   criminal history point. U.S.S.G. § 4A1.2(e)(1); see also United States v. Napoli, 179 F.3d 1, 17
   (2d Cir. 1999). In his executed plea agreement, Vincent Ricciardo stipulated that his criminal
   history placed him within Criminal History Category III for purposes of this case.

                   With an adjusted offense level of 26 and Criminal History III, the applicable
   Guidelines range of imprisonment is 78 to 97 months (CHC III x 26), and if the Court accepts the
   additional, two-level departure for global resolution, making the adjusted offense level 24, the
   range is 63 to 78 months (CHC III x 24). This is the range the government and the defendant
   stipulated to in the plea agreement.

   IV.    The Appropriate Sentence

          A.      Applicable Law

               The standards governing sentencing are well-established. In United States v.
   Booker, 543 U.S. 220 (2005), the Supreme Court rendered the Guidelines advisory, and


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   emphasized that a sentencing court must consider both the Guidelines and the 18 U.S.C. § 3553(a)
   factors when making a sentencing decision. Id. at 264; see also United States v. Kimbrough, 552
   U.S. 85 (2007) (stating that “the Guidelines, formerly mandatory, now serve as one factor among
   several courts must consider in determining an appropriate sentence”).

                   However, that the Guidelines are non-binding does not render them irrelevant to
   the imposition of an appropriate sentence. In Gall v. United States, 552 U.S. 38, 128 S. Ct. 586
   (2007), the Supreme Court instructed that the sentencing court should calculate the Guidelines
   range, permit the government and the defendant “an opportunity to argue for whatever sentence
   they deem appropriate,” consider all of the § 3553(a) factors, and finally pronounce a sentence
   taking into account all of the relevant factors. Id. at 596-97. In so doing, the court “may not
   presume that the Guidelines range is reasonable but must make an individualized assessment based
   on the facts presented.” Id. at 590.

                   The Supreme Court further instructed that, in the event that the sentencing court
   decides to impose a variance sentence, the court “must consider the extent of the deviation and
   ensure that the justification is sufficiently compelling to support the degree of the variance.” Id.
   (noting that a “major departure should be supported by a more significant justification than a minor
   one”). When “rendering a sentence, the district court must make and place on the record an
   individualized assessment based on the particular facts of the case.” United States v. Carter, 564
   F.3d 325, 328 (4th Cir. 2009). Ultimately, the court “must state in open court the particular reasons
   supporting its chosen sentence.” Carter, 564 F.3d at 328 (quoting 18 U.S.C. § 3553(c)).

                  Title 18, United States Code, Section 3553(a) provides that, in imposing a sentence,
   the Court shall consider:

                  (1) the nature and circumstances of the offense and the history and
                      characteristics of the defendant;

                  (2) the need for the sentence imposed—

                          (A)     to reflect the seriousness of the offense, to promote respect
                                  for the law, and to provide just punishment for the offense;

                          (B)     to afford adequate deterrence to criminal conduct; [and]

                          (C)     to protect the public from further crimes of the defendant.

                 At sentencing, “the court is virtually unfettered with respect to the information it
   may consider.” United States v. Alexander, 860 F.2d 508, 513 (2d Cir. 1988). Indeed, 18 U.S.C.
   § 3661 expressly provides that “[n]o limitation shall be placed on the information concerning the
   background, character, and conduct of a person convicted of an offense which a court of the United
   States may receive and consider for the purpose of imposing an appropriate sentence.”

          B.      Argument

                 The government respectfully submits that a sentence at the high end of the
   Guidelines range set forth in the plea agreement of 63 to 78 months’ imprisonment is appropriate


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   in view of Vincent Ricciardo’s role in the serious, long-running scheme to siphon funds from the
   Labor Union, his lengthy criminal history and repeat recidivism, his clear dedication to a violent
   organized crime family, the need to protect the public, and the need for deterrence.

                  1.      Nature and Circumstances of the Offense

                  For nearly 20 years, Vincent Ricciardo ensured that John Doe #1 lived in fear.
   Vincent Ricciardo, a convicted member of the Colombo crime family with a reputation for
   violence, showed up at John Doe #1’s home and workplace. Vincent Ricciardo left John Doe #1
   voicemails threatening late-night visits to him and his family members. Vincent Ricciardo directed
   others to do the same — accost John Doe #1 in his local grocery store, show up at his door, and
   send him threatening texts and voicemails. Vincent Ricciardo preyed on this fear to collect money
   for years — in total, more than $600,000. Then in 2020, Vincent Ricciardo demanded more: the
   Colombo crime family’s use of the Labor Union to implement a money-laundering scheme, where
   they would receive hundreds of thousands of dollars in kickbacks. Vincent Ricciardo told others
   what he would do if John Doe #1 refused to comply with his demands – Ricciardo would shoot
   John Doe #1 in the head while his family watched. Why? Because, as Ricciardo explained,
   “they’ll know my fucking name.”

                  This conduct warrants a significant term of imprisonment. See 18 U.S.C.
   §§ 3553(a)(1), (a)(2)(A). Vincent Ricciardo preyed on John Doe #1 for years. He made him
   believe with his words and his actions that if John Doe #1 disobeyed Ricciardo, that John Doe #1
   and his family would be harmed. And, although Vincent Ricciardo never resorted to physical harm
   against John Doe #1 and his other victims, his threats, backed by the reputation and strength of
   organized crime, were enough to ensure his victims stayed in line.

                  Vincent Ricciardo not only knew about the fear he instilled in John Doe #1; he
   reveled in it. When telling his co-conspirators about the threatening voicemails or the mandatory
   in-person meetings, Vincent Ricciardo laughed and mocked John Doe #1. Recounting the
   November 2020 meeting, the defendant joked that John Doe #1 “is deadly afraid.” On April 8,
   2021, Ricciardo told Co-Conspirator #1, “Let him go to the police and do whatever the fuck he
   wants afterwards, I really don’t care.”

                  Vincent Ricciardo’s actions caused psychological, financial and reputational harm
   to John Doe #1. By the time of his arrest, Vincent Ricciardo had stolen more $600,000. He also
   forced John Doe #1 to hire a Colombo crime family associate as an assistant administrator to the
   Health Fund and involved his workplace and colleagues in a wide-ranging federal criminal
   investigation.

                   Nor was John Doe #1 Vincent Ricciardo’s only victim. Ricciardo discussed
   harming another Health Fund consultant who he blamed for frustrating the extortion and money-
   laundering scheme, telling another member of the Colombo crime family in mid-October 2020: “I
   got every[thing], I got where he lives, his social security number. He lives in his house, his wife’s
   social security number. Big house.” He also specified workers whom he would fire or cut their
   pay once the Colombo crime family was firmly entrenched in the Union. He also collected $500




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   a week from John Doe #2, and when these payments were late, recommended giving John Doe #2
   “a beating.” The serious, long-running nature of his crimes warrant a term of incarceration.

                  2.      Defendant’s History and Characteristics

                   Vincent Ricciardo’s history and characteristics also demonstrate that a significant
   term of imprisonment is warranted here. See 18 U.S.C. § 3553(a)(1). This is Vincent Ricciardo’s
   third federal conviction involving labor racketeering in 30 years. In 1995, he was directed to sever
   formal and informal ties with Labor Unions. In 2005, he was barred by law from involvement
   with Unions. Yet, for decades, he extorted a senior official at a Labor Union and shortly before
   his debarment was to expire, began using the Union and the Health to benefit the Colombo crime
   family.

                   Since 1978, Vincent Ricciardo has repeatedly violated the law to further the aims
   of the Colombo crime family. Indeed, his own documented membership in the crime family goes
   back more than three decades. His involvement with the Colombo crime family continued upon
   his release from Probation in 2000, and again in 2008 after serving several years in prison.

                   His prior criminal conduct is significant because it indicates even imprisonment
   will not deter Vincent Ricciardo. His prior sentences did not deter Ricciardo from extorting Union
   officials — for the third time. His prior sentences did not deter Vincent Ricciardo from his
   decades-long commitment to a violent criminal enterprise. To the contrary, Ricciardo not only
   continued to associate with members of organized crime, but he came to the senior leadership with
   a plan on how to siphon illegal payments from the Labor Union.

                  3.      Affording Deterrence and Protecting the Public

                  Given Vincent Ricciardo’s commitment to the Colombo crime family and his return
   to criminal activity, a Guidelines sentence is also necessary to afford adequate deterrence to
   criminal conduct and to protect the public. 18 U.S.C. § 3553(a)(2)(B), (C).

                   General deterrence warrants a significant sentence. Vincent Ricciardo promoted
   and furthered the aims of the Colombo crime family, a pernicious criminal organization whose
   substantial influence in the labor industry and the New York City community still persists. Vincent
   Ricciardo played a key role in the scheme to steal hundreds of thousands of dollars from Union
   members and their employers for the benefit of the Mafia. Indeed, a significant sentence is
   important to acting as a general deterrent to others who, like Vincent Ricciardo, would seek to
   enrich themselves and their organization at the expense of Union members through widespread
   corruption.

                 Specific deterrence also warrants imprisonment, despite the defendant’s claims that
   his health would prevent him from engaging in future criminal activity. As explained below,
   Vincent Ricciardo has made such claims before and continued to commit the same crimes on
   behalf of the Colombo crime family. Indeed, not even his imprisonment from 2005 to 2008
   prevented him from directing others to collect his “pension” from John Doe #1. Nor is house arrest




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   in North Carolina, a place where he already demonstrated he could direct others by telephone to
   carry out his various schemes, a viable solution.

                  4.      Promoting Respect for the Law and Providing Just Punishment

                   The sentence must also promote respect for the law and provide just punishment.
   18 U.S.C. § 3553(a)(2)(A). A sentence of imprisonment will send the message to the victims in
   this case and the broader community that long-running criminal schemes that gross hundreds of
   thousands of dollars will be punished, even if the participants undertake these schemes while
   having serious health conditions.

                  5.      The Court Should Reject Ricciardo’s Request for a Time-Served Sentence

                    Vincent Ricciardo argues that the Court should sentence him to time-served
   because of his medical conditions (Def. Mem. at 4-6), the conditions on the Hudson medical unit
   (id. at 6-7), his family circumstances (id. at 7-11), and his charitable works (id. at 11-12). None
   of these factors weigh in favor of a below-Guidelines sentence, much less a sentence of time
   served.

                          a.     Medical Condition

                  While the government recognizes that the defendant has serious health issues, these
   issues do not warrant a time-served sentence. As explained, upon review of his medical conditions,
   a medical representative for the BOP believes the BOP can appropriately care for Vincent
   Ricciardo during a term of custodial imprisonment. The fact that Hudson has been able to care for
   the defendant since his incarceration in September 2021 serves to reinforce Dr. Mace-Leibsman’s
   opinion that BOP will be able to provide adequate medical care.

                   It is also significant that Vincent Ricciardo suffered from these serious health
   issues while he committed the crimes at issue here. In fact, Ricciardo has blatantly stated that his
   own infirmities might only motivate him to act more violently, telling Co-Conspirator #1, “I’m
   not afraid to go to jail . . . how long you think I’m gonna last anyway?”

                   Notably, Vincent Ricciardo has previously highlighted risks to his health to escape
   a sentence of incarceration. In 2005, Vincent Ricciardo pleaded guilty to racketeering, related to
   the extortion of two local unions of positions and benefit plans contributions, among other acts.
   See United States v. Cacace, No. 03-CR-191-SJ (E.D.N.Y.). Prior to sentencing in that matter, the
   defendant submitted a sentencing memorandum seeking a non-custodial sentence on the basis of
   his “deteriorating health and the likelihood that incarceration will hasten his death.” Exhibit D at
   1. In his sentencing memorandum, Vincent Ricciardo’s attorney repeatedly argued that
   incarceration for any length of time would “at best be life-threatening, and in all likelihood will
   cause Vincent’s death. At the very least, it will undoubtedly shorten his life.” Id. at 27. In that
   case, the Honorable Sterling Johnson rejected the defendant’s application for a downward
   departure/variance and sentenced the defendant to 42 months’ imprisonment and three years’
   supervised release—the middle of the defendant’s 37 to 46 month range under the United States
   Sentencing Guidelines. No. 03-CR-191-SJ (E.D.N.Y.), Dkt. No. 612. The defendant served his
   custodial sentence and was released to supervision in 2008.


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                          b.     Conditions at Hudson

                   Vincent Ricciardo also seeks a time-served sentence based on the conditions at
   Hudson medical unit during his pretrial detention and the purportedly poor medical care he
   received there. Information provided by his medical provider and medical records show many of
   his claims are exaggerated, misleading or patently false.

                  By way of background, Vincent Ricciardo is housed in Hudson’s infirmary, where
   he is seen multiple times a day by Hudson’s medical professionals, who document Vincent
   Ricciardo’s daily status, medication dosages, and record of treatments and tests conducted by
   Hudson, specialists and local emergency room physicians (since October 2021, this amounts to
   tens of thousands pages, many of which have been provided to defense counsel over the course of
   this case). His claims in his sentencing memorandum are not borne out by these records.

                  Vincent Ricciardo claims he has experienced delays in getting his medication
   refilled. Def. Mem. at 6. However, information from his medical provider, corroborated by his
   medical records, show that this issue was remedied in 2022.
                                                              After initial difficulties dispensing his
   medications in 2021 upon his arrival at Hudson, given the number of pills and the dosage
   instructions, Vincent Ricciardo was provided his medication in larger quantities directly, a
   designation known as Keep on Person (“KOP”). Notably, according to medical staff, Vincent
   Ricciardo is only inmate in the Hudson facility whose prescriptions are entirely KOP. According
   to Hudson staff, he has been assigned a pharmacy technician to work with directly, and is
   encouraged to also communicate directly with the head doctor and/or nurse. A Hudson medical
   provider stated Vincent Ricciardo has never gone weeks without his medications — should he run
   out, the pharmacy delivers next-day. His recent medical records show no reports of supply issues,
   but instead, confirmation from the defendant himself that his medication is in order. Ex. B at 8,
   118, 136, 151.

                  Vincent Ricciardo states he has had no social visits at Hudson. Def. Mem. at 5. He
   fails to mention he is approved (and medically cleared) for social visits, should he wish to have
   them. Moreover, according to letters submitted in conjunction with his sentencing memorandum,
   Vincent Ricciardo has communicated with his family by video and phone from Hudson.

                   Vincent Ricciardo claims he has no access to healthy meals, often eating bologna
   and hot dogs. Def. Mem. at 6. According to information from his medical provider, the meals at
   Hudson are approved by the facility dietician and change weekly. If Vincent Ricciardo rejects the
   provided meal (as he has done in the past), he is then provided a “heart healthy” meal. Moreover,
   his medical provider stated Vincent Ricciardo often chooses to prepare his own meals from items
   in the commissary. Ricciardo also complains about that Hudson has “run out” of their supply of
   Ensure, a nutritional supplement drink. Def. Mem. at 7. According to a Hudson representative,
   Ensure is currently on nationwide back order and Hudson (and other facilities) have been unable
   to provide it to any inmates.

                 Vincent Ricciardo points to the fact he has been sent to outside medical providers
   39 times during his stay at Hudson as evidence of his rapid decline at Hudson. Def. Mem. at 6;



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   York with his long-time girlfriend and co-conspirator Erin Thompkins and met daily with other
   members of organized crime. Out of the approximately 407 days of the investigation, Vincent
   Ricciardo spent approximately 252 days in New York and 155 days with his family. It is
   disingenuous to ask this Court to prioritize his family when he repeatedly chose not to do so
   himself.

   IV.    Conclusion

                  For these reasons, the government respectfully requests that the Court impose a
   sentence at the high end of the 63- to 78-month range of imprisonment set forth in the plea
   agreement, a term of three years’ supervised release and award restitution to John Doe #1 in the
   amount of $280,890.


                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

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          United States Probation Officer Jeremy Toner and Shayna Bryant (by E-Mail)




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